Case 2:21-bk-18572-BB       Doc 145 Filed 02/02/22 Entered 02/02/22 21:49:07             Desc
                             Main Document     Page 1 of 5


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 4
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 5   NREA-TRC 700 LLC

 6

 7                            UNITED STATES BANKRUPTCY COURT

 8                             CENTRAL DISTRICT OF CALIFORNIA

 9                                    LOS ANGELES DIVISION

10

11   In re                                         Case No.: 2:21-bk-18572 BB
                                                   Chapter 11
12   Adli Law Group, PC
                                                   REPLY IN SUPPORT OF MOTION TO
13                                                 REMOVE DEBTOR IN POSSESSION OR
                                                   ALTERNATELY, CONVERT OR DISMISS
14                                                 CASE

15                                                 [11 U.S.C. §§ 1185(a), 1112(b)]
                            Debtor.
16

17                                                 Date:       February 9, 2022
                                                   Time:       10:00 a.m.
18                                                 Place:      Courtroom 1539; Judge Bluebond
                                                               United States Bankruptcy Court
19                                                             255 East Temple Street, 15th Floor
                                                               Los Angeles, CA 90012
20

21
             Creditor NREA-TRC 700 LLC (“NREA”) herein replies to the objection [ECF # 136]
22
     (“Objection”) filed by Adli Law Group PC (“Debtor”) to NREA’s motion to remove the debtor in
23
     possession or alternately convert to chapter 7 or dismiss the chapter 11 case of Adli Law Group
24
     PC pursuant to 11 U.S.C. §§ 1185(a) or 1112(b). NREA’s reply is as follows:
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Case 2:21-bk-18572-BB       Doc 145 Filed 02/02/22 Entered 02/02/22 21:49:07                 Desc
                             Main Document     Page 2 of 5


 1          1.      Debtor’s Objection admits the serious errors in its books, records and financial

 2   reporting: “Ultimately, the Debtor’s prepetition financial condition cannot be truly understood

 3   until its new proposed financial advisors consider and complete their investigation and review,

 4   and the Debtor has an opportunity to report those results to the Court and file amendments, as

 5   appropriate.” Objection 3:7-10 (emphasis added). This is a remarkable admission for a debtor

 6   that has been in a chapter 11 case for three months as of the February 9, 2022 hearing on NREA’s

 7   motion. Nothing can be more relevant to the creditors of this chapter 11 estate than to “truly

 8   understand” the Debtor’s financial condition.

 9          2.      Debtor’s only answer to its prepetition incompetence and gross mismanagement in

10   managing its financial affairs is to hire a new financial consultant, Armanino, LLP (“Armanino”),

11   pursuant to the engagement agreement attached to the Objection as Exhibit 1. While the Debtor

12   admits that employing Armanino is a critical next step, for some unexplained reason, the Debtor

13   has yet to file an employment application to hire Armanino.

14          3.      Debtor’s inexplicable delay in filing an employment application for Armanino

15   further delays Armanino’s completion of its work. Per the changes Debtor made on page 2 of the

16   Armanino engagement agreement, Debtor will not pay Armanino its retainer until the Court

17   grants its employment application. Only then does Armanino get the first $15,000 half of its

18   retainer requirement, with $15,000 to follow 15-days thereafter.

19          4.      Nowhere within Debtor’s Objection does Debtor provide an estimate of time for

20   completion of Armanino’s work and the delay in filing Armanino’s employment application

21   creates further delays. All of this suggests that Debtor’s prepetition incompetence and gross

22   mismanagement continues to this day because Debtor is not promptly moving to resolve its

23   problems.

24          5.      Meanwhile, the Debtor has found time to continue pressing for Dr. Adli’s insider

25   compensation. See ECF # 144. Dr. Adli has also moved to extend the automatic stay to benefit

26   himself and other individual attorneys in the firm in regard to the five (5) malpractice actions

27   pending against the Debtor. See ECF # 131. These actions taken prior to filing an application to

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                                                     -2-
Case 2:21-bk-18572-BB       Doc 145 Filed 02/02/22 Entered 02/02/22 21:49:07                 Desc
                             Main Document     Page 3 of 5


 1   employ Armanino confirm Dr. Adli’s misplaced priorities for the Debtor and improper focus on

 2   his personal issues versus those of his creditors.

 3          6.      NREA believes that the question presented by its Motion is whether the Court

 4   should leave Dr. Adli in control of the Debtor for the next 60 to 90 days while the Debtor and

 5   Armanino perhaps complete an investigation and report on Debtor’s financial affairs or whether

 6   the Subchapter V Trustee (“Trustee”) should take control during this period to complete the task.

 7   Based on Debtor’s performance to date, it is clear that the best interests of creditors are served by

 8   immediately removing Dr. Adli and allowing the Trustee to control the review of the Debtor’s

 9   financial affairs so that creditors can reasonably move forward in this case.

10          7.      For all these reasons, the Debtor should be removed as a debtor in possession or

11   the case converted to chapter 7 or dismissed.

12   Dated: February 2, 2022                               Lewis R. Landau
13                                                         Attorney at Law

14
                                                           By:/s/ Lewis R. Landau
15                                                         Lewis R. Landau
                                                           Attorney for Movant
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        Case 2:21-bk-18572-BB                     Doc 145 Filed 02/02/22 Entered 02/02/22 21:49:07                                      Desc
                                                   Main Document     Page 4 of 5



                                         PROOF OF SERVICE OF DOCUMENT
I am over the age of 18 and not a party to this bankruptcy case or adversary proceeding. My business address is:
    22287 Mulholland Hwy., # 318
    Calabasas, CA 91302
A true and correct copy of the foregoing document entitled (specify): __________________________________________
 REPLY IN SUPPORT OF MOTION TO REMOVE DEBTOR IN POSSESSION OR ALTERNATELY, CONVERT OR
________________________________________________________________________________________________
________________________________________________________________________________________________
 DISMISS CASE
________________________________________________________________________________________________
will be served or was served (a) on the judge in chambers in the form and manner required by LBR 5005-2(d); and (b) in
the manner stated below:

1. TO BE SERVED BY THE COURT VIA NOTICE OF ELECTRONIC FILING (NEF): Pursuant to controlling General
Orders and LBR, the foregoing document will be served by the court via NEF and hyperlink to the document. On (date)
_______________,
02/02/2022          I checked the CM/ECF docket for this bankruptcy case or adversary proceeding and determined that
the following persons are on the Electronic Mail Notice List to receive NEF transmission at the email addresses stated
below:




                                                                                       ✔ Service information continued on attached page

2. SERVED BY UNITED STATES MAIL:
On (date) _______________, I served the following persons and/or entities at the last known addresses in this bankruptcy
case or adversary proceeding by placing a true and correct copy thereof in a sealed envelope in the United States mail,
first class, postage prepaid, and addressed as follows. Listing the judge here constitutes a declaration that mailing to the
judge will be completed no later than 24 hours after the document is filed.




                                                                                            Service information continued on attached page

3. SERVED BY PERSONAL DELIVERY, OVERNIGHT MAIL, FACSIMILE TRANSMISSION OR EMAIL (state method
                                                                                                  02/02/2022
for each person or entity served): Pursuant to F.R.Civ.P. 5 and/or controlling LBR, on (date) _______________,     I served
the following persons and/or entities by personal delivery, overnight mail service, or (for those who consented in writing to
such service method), by facsimile transmission and/or email as follows. Listing the judge here constitutes a declaration
that personal delivery on, or overnight mail to, the judge will be completed no later than 24 hours after the document is
filed.
 Judge Bluebond, US Bankruptcy Court, 255 E Temple St., Suite 1534, Los Angeles, CA 90012




                                                                                            Service information continued on attached page

I declare under penalty of perjury under the laws of the United States that the foregoing is true and correct.

02/02/2022         Lewis R. Landau                                                             /s/ Lewis R. Landau
 Date                        Printed Name                                                       Signature



            This form is mandatory. It has been approved for use by the United States Bankruptcy Court for the Central District of California.


June 2012                                                                                           F 9013-3.1.PROOF.SERVICE
Case 2:21-bk-18572-BB            Doc 145 Filed 02/02/22 Entered 02/02/22 21:49:07                         Desc
                                  Main Document     Page 5 of 5


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